              Case 1:17-cv-00388-RDB Document 58 Filed 03/13/18 Page 1 of 2
               Case 1:17-cv-00388-RDB Document 57 Filed 03/12/18 Page 1 of 2


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March 12,2018

Via ECF

The Honorable Richard D. Bennett
United States District Court
for the District of Maryland
101 West Lombard Street
Chambers 5D
Baltimore, Maryland 2120 I

                  Re:   In re Under Armour Securities Litigation
                        Civil Action No.1: 17-cv-00388-RDB

Dear Judge Bennett:

       lbis firm, together with Fried, Frank, Harris, Shriver & Jacobson LLP, represents
defendants Under Armour, Inc. ("Under Armour"), Byron Adams, George Bodenheimer,
Douglas Coltharp, Karen Katz, A.B. Krongard, William McDermott, Eric Olson, and Harvey
Sanders in the above-referenced matter.

        On March 22, 2018, twelve defendants (the above-referenced defendants as well as
defendants Brad Dickerson, Lawrence Molloy, and Kevin Plank; together, the "Under Armour
Defendants") plan to file a single reply memorandum in further support of their motion to
dismiss the amended complaint. We write to seek the Court's approval of an extension of the
page limit under Local Rule 105.3 for the Under Armour Defendants' reply memorandum.

        On September 27,2017, the parties to this action submitted ajoint motion to, among
other things, extend page limits in connection with the briefing on the Under Armour
Defendants' motion to dismiss. In the parties' joint motion, the Under Armour Defendants
sought an extension of the page limit for their opening memorandum from 35 to 60 pages, and
Lead Plaintiff Aberdeen City Council as Administrating Authority for the North East Scotland
Pension Fund ("Lead Plaintiff' or "Aberdeen") and Bucks County Employees Retirement Fund
("Bucks County," and together with Aberdeen, "Plaintiffs") sought an extension from 35 pages
to 60 pages for their opposition to the Under Armour Defendants' opening memorandum. Your
Ilonor granted the joint motion.

        Under Local Civil Rule 105.3, reply memoranda are limited to 20 pages in length. We
respectfully request an extension of the page limit for the Under Armour Defendants' reply


                                                    Request GRANTED this 12th day of March. 2018.
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                                                                                    I¥I J!..     :JL/ttf
                                                                                Richard D. Bennett
                                                                                United Stales District   Judge
              Case 1:17-cv-00388-RDB Document 58 Filed 03/13/18 Page 2 of 2
               Case 1:17-cv-00388-RDB        Document 57 Filed 03/12118          Page 2 of 2


 VENABLE:LP
The Honorable Richard D. Bennett
March 12,2018
Page 2



memorandum to 30 pages. We request this extension of the page limit because the Under
Armour Defendants' reply memorandum will be submitted on behalf of twelve defendants and
because of the need to address the arguments in Plaintiffs' 60-page opposition to the Under
Armour Defendants' opening memorandum.

          Plaintiffs have advised that they do not oppose this request for additional pages.

         Accordingly, we respectfully request that the Court allow the Under Armour Defendants
to file a reply memorandum in further support of their motion to dismiss of no more than 30
pages in length.

          Thank you for your consideration of this maUer.




ec:       All counsel of record (via ECF)




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